          Case 7:19-cr-00330-KMK Document 31 Filed 11/06/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
UNITED STATES OF AMERICA,

                 -v-                                                        l 9-CR-330 (KMK)

ALEXANDER FINLEY                                                                 ORDER

                                   Defendant.

----------------------------------------------------------------------X
ANDREW E. KRAUSE, UNITED STATES MAGISTRATE JUDGE:

        The Court has scheduled a plea hearing for November 10, 2020, at 3:00 pm which will
occur as a video/teleconference using the Court-Call platform.
        To optimize the quality of the video feed, only the Court and the Defendant will appear
by video for the proceeding; all others will participate by telephone. Due to the limited capacity
of the Court-Call system, only one counsel per party may participate. Further, the Court-Call
platform should be used only at the time of the conference, because joining earlier could result in
disruptions to other proceedings. Co-counsel, members of the press, and the public may access
the audio feed of the conference by calling 855-268-7844 and using access code 67812309# and
PIN 9921299#. All of those accessing the conference -whether in listen-only mode or
otherwise - are reminded that recording or rebroadcasting of the proceeding is prohibited by
law.
             1. Each party should designate a single lawyer to speak on its behalf (including
                when noting the appearances of other counsel on the telephone).

             2. Counsel should use a landline whenever possible, should use a headset instead of
                a speakerphone, and must mute themselves whenever they are not speaking to
                eliminate background noise. In addition, counsel should not use voice-activated
                systems that do not allow the user to know when someone else is trying to speak
                at the same time.

             3. To facilitate an orderly teleconference and the creation of an accurate transcript,
                counsel are required to identify themselves every time they speak. Counsel
                should spell any proper names for the court reporter. Counsel should also take
                special care not to interrupt or speak over one another.
         Case 7:19-cr-00330-KMK Document 31 Filed 11/06/20 Page 2 of 2



           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

       To the extent that there are any documents relevant to the proceeding (e.g., proposed
orders or documents regarding restitution, forfeiture, or removal), counsel should submit them to
the Court (by email or on ECF, as appropriate) at least at least 24 hours prior to the
proceeding. To the extent any documents require the Defendant's signature, defense counsel
should endeavor to get them signed in advance of the proceeding as set forth above; if defense
counsel is unable to do so, the Court will conduct an inquiry during the proceeding to determine
whether it is appropria~e for the Court to add the Defendant's signature.



Dated: November 6, 2020
       New York, New York

                                                     SO ORDERED:




                                                     ANDREW E. KRAUSE
                                                     United States Magistrate Judge
